                              Case 12-46295-rfn11 Doc 284 Filed 08/12/15               Entered 08/13/15 09:17:41       Page 1 of 1
BTXN 208 (rev. 07/09)
IN RE: Latitude             Motion to approve amendment to contingent fee agreement with special litigation counsel       Case # 12−46295−rfn11
Solutions, Inc.                                  filed by Trustee Carey Dalton Ebert (274)
DEBTOR
                                                            TYPE OF HEARING

Trustee Carey Dalton                                                                                                  John Paul DeJoria, Jeffrey Wohler, and Vapor
                                                                      VS
Ebert                                                                                                                 Solutions, Inc.
PLAINTIFF /                                                                                                           DEFENDANT / RESPONDENT
MOVANT


Ken Hill                                                                                                              Mark Platt
ATTORNEY                                                                                                              ATTORNEY


                                                                 EXHIBITS
Trustee Exhibit A: September 23, 2014 Engagement Letter                                   ***NONE OFFERED***

Trustee Exhibit B: Amendment to Contingent Fee Agreement




Karyn Rueter                                                               8/12/2015                                   Russell F. Nelms
                                                                           HEARING
REPORTED BY                                                                                                           JUDGE PRESIDING
                                                                           DATE
